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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JAMES DOLAN, individually
and on behalf of all others
similarly situated,

Plaintiff,
Vv. Civil Action No. 3:23cv512
FORD MOTOR COMPANY,

Defendant.

MEMORANDUM OPINION

This matter is before the Court on FORD MOTOR COMPANY'S MOTION
FOR A LIMITED STAY, PENDING RESOLUTION OF ITS MOTION TO TRANSFER
VENUE (ECF No. 7) (the “MOTION FOR STAY”). Having considered the
MOTION FOR STAY and the supporting, opposing, and reply memoranda
(ECF Nos. 8, 22, and 24) and the CLASS ACTION COMPLAINT (ECF No.
1), as well as having reviewed FORD MOTOR COMPANY’S MOTION TO
TRANSFER VENUE (ECF No. 5) (the “MOTION TO TRANSFER”), and its
supporting, opposing, and reply memoranda (ECF Nos. 6, 21, and
25), FORD MOTOR COMPANY'S MOTION FOR A LIMITED STAY, PENDING

RESOLUTION OF ITS MOTION TO TRANSFER VENUE (ECF No. 7) will be

denied.

BACKGROUND
The CLASS ACTION COMPLAINT herein (ECF No. 1) asserts eight

claims, seven of which are based in Virginia law, and one of which
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is based on federal law. The individual plaintiff and the putative
class are Virginians. Ford Motor Company (“Ford”) is a
corporation organized under the laws of the State of Delaware and
its principal place of business is in Dearborn, Michigan.
Jurisdiction is laid under the Class Action Fairness Act, 28 U.S.C.
§ 1332(d) ("“CAFA”) and under diversity principles, the citizenship
of all plaintiffs being diverse from that of Ford. The case
involves the allegedly defective design and manufacture of an
automatic transmission shift known as the 10R80 transmission
system.

The CLASS ACTION COMPLAINT was filed on August 11, 2023 and
the summons and service of process was returned as executed on
September 19, 2023. On September 22, 2023, Ford filed the MOTION
TO TRANSFER the case to the District of Massachusetts and the
pending MOTION FOR STAY. Both motions are fully briefed and ripe
for decision. A hearing on the MOTION TO TRANSFER will be held
on November 16, 2023 at 3:30 p.m. On October 27, 2023, Ford filed
its Answer and a Motion to Dismiss under Fed. R. Civ. P. 12(b) (6).

The issues are now joined because the CLASS ACTION COMPLAINT
has been answered, and, in the usual course of proceeding in this
Court, the case will be set for an Initial Pretrial Conference on
December 13, 2023. It is anticipated that a decision on the MOTION

TO TRANSFER will be issued by December 1, 2023.
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Ford seeks a stay until the Court decides the MOTION TO
TRANSFER this action to join four others which are pending in the
United States District Court of the District of Massachusetts and
that involve the same alleged defects. One of those cases was
originally filed in Massachusetts and the other three were
transferred from Alabama, Illinois, and Florida, by consent of the

plaintiffs in those actions and Ford.

DISCUSSION

The parties agree that some of the factual issues in this
case overlap with issues of fact in those cases that are now
pending in the District of Massachusetts. There is no identity
of party plaintiffs in any of the cases. There is, however, a
common defendant, Ford. None of the four cases in the District
of Massachusetts are based in Virginia law.

Ford argues that, absent a stay of this case, it will be
required to engage in potentially duplicative and unnecessary
work, among which is the filing of an Answer. The other allegedly
duplicative and unnecessary work is said to be the need to prepare
a Motion to Dismiss under Fed. R. Civ. P. 12(b)(6). Both the
Answer and that motion were filed (ECF Nos. 26 and 28,
respectively) on October 27, 2023. The Motion to Dismiss is not

ripe for decision at this point.
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Thus, much of the alleged hardship on which it bases its
request for stay are matters of routine federal practice and have
already taken place. (See FORD MOTOR COMPANY'S MEMORANDUM OF LAW
IN SUPPORT OF ITS MOTION FOR A LIMITED STAY, PENDING RESOLUTION OF
ITS MOTION TO TRANSFER VENUE (ECF No. 8, § III, pp. 7-8)). There
is nothing in the record establishing that Ford suffered any
material hardship in the preparation and filing of those rather
routine papers. Also, Ford alleges that it might be required to
exchange interrogatories and discovery requests in anticipation of
a pretrial conference and that such obligations could result in
inconsistent obligations on it and inconsistent rulings on
discovery disputes. Other than the speculation of counsel, there
is no basis at all for those apprehended injuries.

Ford contends that the plaintiff will not be prejudiced by
entry of a stay pending decision on the MOTION TO TRANSFER. The
plaintiff says that whatever hardship Ford faces is minimal and
the plaintiff would suffer the prejudice of delay.

The Court has inherent authority to issue stays in controlling

its docket, Landis v. North American Co., 299 U.S. 248, 254-55

(1936). The decision to issue a stay requires balancing of the
parties’ competing interests. On that, the parties are in
agreement. In weighing the interests, the Court considers, inter
alia, the interest of judicial economy, the hardship to the moving

party if there is no stay, and the potential prejudice to the non-

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moving party if there is a stay. Actelion Pharms. Ltd. v. Lee,

2016 WL 205377 at *4 (E.D. Va. Jan. 13, 2016). Ford bears the
burden to establish that a stay is necessary. There is no real

disagreement on the standard to be applied.

1. Hardship and Prejudice

On both sides, the assertions of hardship and prejudice are
both speculative and largely manufactured. Most of Ford’s
asserted hardship has already occurred because it has filed its
Answer and a Motion to Dismiss. The commencement of discovery by
filing discovery requests can hardly be considered a hardship. In
any event, the Federal Rules of Civil Procedure, the Local Rules
of Civil Procedure, and the Court’s approach to resolving discovery
disputes afford ample protection from any hardship or burden that
might befall Ford because of the nature of the discovery requests
presented by the plaintiff. The plaintiff's apprehension of delay
also is overstated. The issue of transfer will be decided
forthwith, certainly by December 1, 2023. The Initial Pretrial
Conference will be set for December 13, 2023. The parties can
effectively have the Rule 26 conference as required by the Order
Setting Pretrial Conference and the Scheduling Order that will be
entered herein. The initial pretrial conference will result in

an Order setting this case for trial in a matter of months.
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In sum, the hardship perceived by Ford and the prejudice
(delay) perceived by the plaintiff offset each other if the case
is allowed to take its usual course. Accordingly, Ford has not
established that the balancing requirement augurs in favor of a

stay.

2. The Interest of Judicial Economy

Nor does Ford carry the day on the judicial economy factor.
A review of the papers show that Ford’s judicial economy argument
lies in its conviction that it will prevail on the MOTION TO
TRANSFER and the plaintiff's position that Ford will not prevail.

The request for stay here necessitates a preliminary
assessment of the likelihood of success on that motion because the
thrust of Ford’s position is that its likely success on that motion
results in judicial economy. A preliminary review of the papers
filed in support of, and opposing, that motion suggests strongly
that transfer will not be appropriate because Ford bases its
request for transfer on the so-called “first filed” rule which
appears not to be a viable theory under the facts here presented
and because it appears that the plaintiff could not have brought
this action against Ford in Massachusetts.

In sum, the likelihood that Ford will succeed on its MOTION
TO TRANSFER is not strong enough to warrant the exercise of the

Court’s inherent power to stay the case pending further
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proceedings. That is particularly so because the further
proceedings that will take place before the MOTION TO TRANSFER
will be decided are basically administrative and logistical and
will cause Ford no real hardship or difficulty and will, in the
event that the plaintiff prevails, advance the case to a prompt
trial date.

On this record, Ford has not shown that the interest of
judicial economy is served by granting the requested stay. To the
contrary, it is reasonable to conclude that judicial economy will

be served by denying the requested stay.

CONCLUSION
For the foregoing reasons, FORD MOTOR COMPANY'S MOTION FOR A
LIMITED STAY, PENDING RESOLUTION OF ITS MOTION TO TRANSFER VENUE
(ECF No. 7) will be denied.
It is so ORDERED.

/s/ (RE

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: November 3, 2023
